Case 2:22-cv-00146-JRG-RSP Document 50 Filed 11/02/22 Page 1 of 1 PageID #: 235




                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF TEXAS
                                        MARSHALL DIVISION

     DECAPOLIS SYSTEMS, LLC,                              §
                                                          §
                  Plaintiff,                              §
                                                          §
     v.                                                   §   Case No. 2:22-cv-00146-JRG-RSP
                                                          §
     MEDSYS GROUP, LLC, TENET                             §
     HEALTHCARE CORORATION,                               §
     UNIVERSAL HEALTH SERVICES, INC.,                     §
     and TYLER TECHNOLOGIES, INC.,                        §
.                                                         §
                  Defendants.                             §

                                                 ORDER

           Before the Court with notice of settlement is the Agreed Motion to Stay filed by Defendants

    Tenet Healthcare Corporation and UHS of Delaware, Inc. Dkt. No. 49. The parties have come to

    a settlement on all matters in controversy in the above-captioned action.

           After due consideration, the Court GRANTS the motion. It is therefore ORDERED that

    all unreached deadlines in the above-captioned action are hereby STAYED until November 16,

    2022 to allow the parties to file dismissal papers.
           SIGNED this 3rd day of January, 2012.
           SIGNED this 2nd day of November, 2022.




                                                          ____________________________________
                                                          ROY S. PAYNE
                                                          UNITED STATES MAGISTRATE JUDGE




                                                   1/1
